               Case 1:24-cv-02535-ACR          Document 15     Filed 05/27/25      Page 1 of 13




                               IN THE UNITED STATES DISTRICT COURT
 1
                                   FOR THE DISTRICT OF COLUMBIA
 2

 3    Dinesh Patel                                       Case No.:        1:24-cv-02535-ACR
 4
                      Plaintiff,
                                                         Judge:           Hon. Ana C. Reyes
 5                    v.
                                                         MOTION TO DISMISS SECOND
 6    Georgetown Software House, Inc.                    AMENDED COUNTERCLAIMS
 7                 Defendant.

 8
              Pursuant to Federal Rule of Civil Procedure 12(b)(6), Plaintiff Dinesh Patel (“Plaintiff”)
 9
     respectfully moves this Court to dismiss counterclaims (“Counterclaims” or “Counterclaim”) alleged
10
     against him in defendant Georgetown Software House, Inc.’s (“Defendant”) “Second Amended
11
     Answer And Affirmative Defenses, And Counterclaims” (ECF 13; “2ACC”) filed on May 6, 2025.
12
              During the April 30, 2025 pre-motion conference (“Apr30-Hearing”) granted by the Court,
13
     Plaintiff had pointed out that Defendant had merely copied over counterclaims from an unrelated U.S.
14
     trademark opposition proceeding involving Plaintiff and a third-party, due to which Defendant was
15
     unable to point out any allegation of damage in its “Amended Answer And Affirmative Defenses, And
16
     Counterclaims” (ECF 6; “1ACC”). The 2ACC once again fails to state any claim upon which relief
17
     may be granted and it should be entirely dismissed with prejudice.
18
              The grounds for this motion are set forth in the accompanying memorandum. A proposed order
19
     is also attached for the Court’s consideration.
20

21
                                                         Respectfully submitted,
22
     Dated:          May 27, 2025                        /Dinesh Patel/
23
                                                         Pro Se Plaintiff
24
                                                         2118 Walsh Ave, Suite 240
25                                                       Santa Clara, CA 95050
                                                         Email: btcroot@gmail.com
26
                                                         Telephone: (408) 454-8378
27

28




      MOTION TO DISMISS SECOND AMENDED
                                                       -1-                     CASE NO. 1:24-cv-02535-ACR
      COUNTERCLAIMS
            Case 1:24-cv-02535-ACR         Document 15          Filed 05/27/25   Page 2 of 13




                                IN THE UNITED STATES DISTRICT COURT
 1
                                    FOR THE DISTRICT OF COLUMBIA
 2

 3     Dinesh Patel                                        Case No.:      1:24-cv-02535-ACR
 4
                       Plaintiff,
                                                           Judge:         Hon. Ana C. Reyes
 5                    v.
                                                           [PROPOSED] ORDER   DISMISSING
 6     Georgetown Software House, Inc.                     SECOND AMENDED COUNTERCLAIMS
 7                  Defendant.

 8

 9                                            [Proposed] ORDER
10
             THIS MATTER having come before the Court on Plaintiff Dinesh Patel’s MOTION TO DISMISS
11
     SECOND AMENDED COUNTERCLAIMS, and having considered the parties’ papers filed in support
12
     of and in opposition to the Motion, argument by parties, and all other matter properly considered by this
13
     Court, it is:
14
              ORDERED that Plaintiff’s Motion is GRANTED; and it is further
15
              ORDERED that Defendant Georgetown Software House, Inc.’s Counterclaims are hereby
16
     DISMISSED with prejudice.
17

18
     IT IS SO ORDERED.
19

20
     Dated: _______________                              _______________________________
21
                                                         Hon. Ana C. Reyes
22
                                                         United States District Judge
23

24

25

26

27

28




     MOTION TO DISMISS SECOND AMENDED                     -i-
                                                                            CASE NO. 1:24-cv-02535-ACR
     COUNTERCLAIMS
              Case 1:24-cv-02535-ACR            Document 15        Filed 05/27/25      Page 3 of 13




                            MEMORANDUM OF POINTS AND AUTHORITIES
 1

 2          Pursuant to Fed. R. Civ. P. 12(b), plaintiff Dinesh Patel (“Plaintiff” or “Patel”) moves to dismiss
 3   with prejudice, Georgetown Software House Inc.’s (“Defendant” or “GSH”) counterclaims
 4   (“Counterclaims” or “Counterclaim”) as set forth in Defendant’s “Second Amended Answer And
 5   Affirmative Defenses, And Counterclaims” (“2ACC”; ECF 13) filed on May 6, 2025. Defendant’s
 6   answer and affirmative defenses in the 2ACC are collectively, the “Answer” (ECF 13 at 1-20).
 7    I.    BACKGROUND
 8          Plaintiff owns U.S. Trademark Registration Nos. 6557978 (ECF 1 at 40-41); the “’978
 9   Registration”) and 6557799 (ECF 1 at 53-54; the “’799 Registration”) for the “PEBBLES” mark (the
10   “PEBBLES® Mark”) in class 9 and 42 respectively for a variety of goods and services (the ‘978
11   Registration and the ‘799 Registration are collectively the “PEBBLES® Registrations”). The
12   PEBBLES® Mark on several types of software on the PEBBLES® Registrations is strong and
13   registered on the Principal Register without any disclaimer. The PEBBLES® Registrations and the
14   PEBBLES® Mark along with the goodwill associated with it were assigned to Plaintiff by his
15   predecessor BatchTest Corporation (“BatchTest”); ECF 1 at 42-43. The PEBBLES® Registrations had
16   matured from BatchTest’s Section 1(a) use-based applications after the Trademark Trial and Appeal
17   Board (“TTAB”) of the United States Patent and Trademark Office (“USPTO”) issued its final
18   judgment in BatchTest’s favor under U.S. Trademark Cancellation No. 92074420, (see ECF 1 at 52)
19   cancelling a third-party’s conflicting U.S. Trademark Registration No. 5753143 for the “PEBBLES”
20   mark, with its earliest date of constructive use at least as early as June 8, 2018.
21          Plaintiff had timely initiated U.S. Trademark Opposition No. 91288564 (the “’564 Opposition”;
22   Complaint ¶79 and 2ACC at 10 ¶ 79) in front of the TTAB which is currently suspended pending the
23   outcome of this case. After Plaintiff’s numerous further attempts to persuade Defendant to stop its
24   deliberate infringement of the PEBBLES® Mark failed, he was forced to file the Complaint (ECF 1)
25   with this Court because the TTAB does not have jurisdiction over trademark infringement claims and
26   cannot order Defendant to stop use of any trademark.
27          Defendant filed its original answer (ECF 5; “Original Answer”) on December 9, 2024, which
28   did not allege any affirmative defense or counterclaim and contained no exhibits.


      MOTION TO DISMISS SECOND AMENDED
      COUNTERCLAIMS
                                                         -1-                       CASE NO. 1:24-cv-02535-ACR
             Case 1:24-cv-02535-ACR            Document 15         Filed 05/27/25      Page 4 of 13




 1          Seventeen days later, Defendant filed its First Amended Counterclaims (ECF 6; “1ACC”) on
 2   December 26, 2024, before Plaintiff had a chance to respond to the Original Answer.
 3          On January 16, 2025, Plaintiff filed his Pre-motion notice (ECF 7; “Plaintiff’s-Notice”)
 4   pursuant to this Court’s Standing Order (ECF 12) Rule 7(f) and Defendant filed its response (ECF 9;
 5   “Defendant’s-Response”) on January 23, 2025.
 6          Defendant’s previous attorney who had filed the Original Answer and the 1ACC, has already
 7   withdrawn from this case at such early stage; see ECF 8 and 10.
 8          During the Apr30-Hearing on Plaintiff’s-Notice, the Court dismissed Defendant’s previous
 9   counterclaim IV alleging fraud with prejudice, and struck Defendant’s previous affirmative defenses 3,
10   4, and 5 from the 1ACC, and granted Defendant leave to again replead its counterclaims and granted
11   Plaintiff permission to file this Motion without following the Court’s pre-motion conference process
12   (see the Court’s Minute Order dated April 30, 2025).
13          During the Apr30-Hearing, Defendant was unable to point out any allegation of damage in its
14   1ACC to this Court. Now despite having several opportunities to cure its issues, the 2ACC once again
15   fails to sufficiently allege any claim on which relief maybe granted. For instance, the heading of
16   Counterclaim II alleges that it is “For Cancellation Of … Registration No. 6,557, 978 …,” but it
17   contains no allegations against the 978 Registration.
18   II.    LEGAL STANDARD
19          “When a plaintiff moves to dismiss a defendant's counterclaims for failure to state a claim
20   under Federal Rule of Civil Procedure 12(b)(6), the Court applies the same standards that it does when
21   evaluating a motion to dismiss a plaintiff's complaint on the same grounds.” Adirondack Transit Lines,
22   Inc. v. Greyhound Lines, Inc., No. 22-1662, 2023 WL 196245, at *3 (D.D.C. Jan. 17, 2023). Fed. R.
23   Civ. P 12(b)(6) allows the Court to eliminate claims “that are fatally flawed in their legal premises and
24   destined to fail, and thus to spare litigants the burdens of unnecessary pretrial and trial activity.”
25   Advanced Cardiovascular Sys., Inc. v. Scimed Life Sys., Inc., 988 F.2d 1157, 1160 (Fed. Cir. 1993).
26          To survive a motion to dismiss, a party must “state a claim to relief that is plausible on its face.”
27   Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). Specifically, a party must allege well-pleaded
28   factual matter and more than “[t]hreadbare recitals of the elements of a cause of action, supported by


      MOTION TO DISMISS SECOND AMENDED
      COUNTERCLAIMS
                                                         -2-                      CASE NO. 1:24-cv-02535-ACR
              Case 1:24-cv-02535-ACR           Document 15        Filed 05/27/25       Page 5 of 13




 1   mere conclusory statements.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). The pleading standard “does
 2   not require ‘detailed factual allegations,’ but it demands more than an unadorned, the-defendant
 3   unlawfully-harmed-me accusation.” Id. (quoting Twombly, 550 U.S. at 555). Pleadings must contain
 4   more than “labels and conclusions, and a formulaic recitation of the elements of a cause of action will
 5   not do.” Twombly, 550 U.S. at 555 (citation omitted). Therefore a plaintiff must “plead[] factual content
 6   that allows the court to draw the reasonable inference that the defendant is liable for the misconduct
 7   alleged.” Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 556). The Court need not accept
 8   inferences drawn by the counter-plaintiff if those inferences are unsupported by facts alleged in the
 9   counterclaims, nor must the Court accept counter-plaintiff’s legal conclusions. Browning v. Clinton,
10   292 F.3d 235, 242 (D.C. Cir. 2002).
11          District Courts commonly rule that when the pleading and the exhibit contradict each other, the
12   exhibit controls. "A statement in a pleading may be adopted by reference elsewhere in the same
13   pleading or in any other pleading or motion. A copy of a written instrument that is an exhibit to a
14   pleading is a part of the pleading for all purposes." Fed. R. Civ. P. 10(c). “A court may consider exhibits
15   for the purposes of a motion to dismiss when they are submitted with a complaint. Durning v. First
16   Boston Corp., 815 F.2d 1265, 1267 (9th Cir. 1987).
17          In considering whether to grant leave to amend a pleading, a district court should consider
18   factors “such as undue delay, bad faith or dilatory motive on the part of the movant, repeated failure to
19   cure deficiencies by amendments previously allowed, undue prejudice to the opposing party by virtue
20   of allowance of the amendment, futility of amendment, etc.” Foman v. Davis, 371 U.S. 178, 182 (1962).
21   III.   ARGUMENTS
22          Paragraph 7(i) of Hon. Judge Reyes’ Standing Order (ECF 12) requires that “[a]ny amended
23   pleading shall be accompanied by a redline comparison between the original and the amended or
24   proposed amended pleading.” Defendant did not do so. Also, even though Defendant was generously
25   granted leave by this Court to once again amend its pleadings, Defendant’s latest amendments show
26   minimal or no effort to address its futile counterclaims; Defendant has minimally edited the headings
27   of its counterclaims, added Paragraphs 12-15 (ECF 13 at 22) to allege damage in its Counterclaim I,
28   and copied those paragraphs over to its Counterclaim II as paragraphs 27-30. As described below,


      MOTION TO DISMISS SECOND AMENDED
      COUNTERCLAIMS
                                                         -3-                      CASE NO. 1:24-cv-02535-ACR
              Case 1:24-cv-02535-ACR           Document 15        Filed 05/27/25      Page 6 of 13




 1   Defendant has also entirely ignored basic due diligence of double-checking the allegations for errors
 2   before filing them.
 3          The Supreme Court has explained that “Registration is significant. The Lanham Act confers
 4   “important legal rights and benefits” on trademark owners who register their marks. 3 McCarthy §19:3,
 5   at 19–21 see also id., §19:9, at 19–34 (listing seven of the “procedural and substantive legal
 6   advantages” of registration)”; B&B Hardware, Inc. v. Hargis Indus., Inc., 135 S. Ct. 1293, 1300 (2015).
 7   Several jurisdictions also find that a “[US]PTO determination[] carr[ies] a ‘strong presumption’ of
 8   validity and [should] ‘not . . . be overturned lightly.” See, Radiator Specialty Co. v. Ladd, 218 F. Supp.
 9   827, 829 (D.D.C. 1963).
10          It speaks volumes that the USPTO had issued the PEBBLES® Registrations after a rigorous
11   examination involving several USPTO notices and responses by Plaintiff, supported by numerous
12   evidence (ECF 1 at 33, showing the “Prosecution History” spanning over two years before the
13   registrations were issued), and only after the TTAB’s final judgment in U.S. Trademark Cancellation
14   No. 92074420 ordered cancellation of a third-party’s conflicting mark. Given that Plaintiff’s use-based
15   PEBBLES® Registrations were issued on the Principal Register, that in itself also supports that valid
16   specimens of actual use of the PEBBLES® Mark in commerce were submitted with the underlying
17   applications and found acceptable by the USPTO.
18          Defendant and its attorneys have accused Plaintiff of being a “sophisticated serial filer of
19   trademark actions” (ECF 9 at 3) while missing the forest for the trees, that as of now Plaintiff’s
20   PEBBLES® Registrations are still shown as live and valid on the Principal Register, which
21   demonstrates that Plaintiff has prevailed in all of his previous cases involving the PEBBLES® Mark,
22   whereas all respondents of those cases were forced to abandon use of their conflicting marks, and had
23   their conflicting marks cancelled or refused registration.
24          Defendant has the benefit of a team of alleged trademark attorneys and so early in the case
25   Defendant has also changed its attorney who had filed the Original Answer and the 1ACC. And yet,
26   despite having so many opportunities and attempts, Defendant’s latest Counterclaims copied over from
27   a third-party’s previously failed allegations, are once again based on bald, unintelligible and conclusory
28   allegations, without any supporting factual allegation. The Counterclaims once again fail to sufficiently


      MOTION TO DISMISS SECOND AMENDED
      COUNTERCLAIMS
                                                         -4-                     CASE NO. 1:24-cv-02535-ACR
             Case 1:24-cv-02535-ACR           Document 15        Filed 05/27/25     Page 7 of 13




 1   allege a claim on which relief may be granted by the Court.
 2          “In deciding a motion under Rule 12(b)(6), a court may consider the facts alleged in the
 3   complaint, documents attached to the complaint as exhibits or incorporated by reference, and matters
 4   about which the court may take judicial notice. Abhe & Svoboda, Inc. v. Chao, 508 F.3d 1052,
 5   1059 (D.C.Cir.2007).” Slate v. Dist. of Columbia, 79 F. Supp. 3d 225, 231 (D.D.C. 2015). In the 2ACC,
 6   “Defendant repeats paragraphs 1 through 210 of its Answer and Affirmative Defenses” (ECF 13 at 20),
 7   which reference the Complaint and its attached exhibits, and as such the Court is requested to consider
 8   them when reviewing this Motion. See, Abhe & Svoboda, Inc. v. Chao, 508 F.3d 1052,
 9   1059 (D.C.Cir.2007).
10          Plaintiff respectfully moves the Court to dismiss the entirety of the 2ACC with prejudice
11   because Defendant is merely engaged in dilatory tactics and delaying this case with its frivolous
12   Counterclaims which are calculated only to harass Plaintiff. Defendant should not be allowed to keep
13   making piecemeal amendments which repeatedly fail to sufficiently allege a claim. See Foman.
14          A. COUNTERCLAIM I FOR THE CANCELLATION OF REGISTRATION NO. 6,557,799 AGAIN
15              FAILS TO STATE A CLAIM
16          In the United States, abandonment can be established upon a showing of three or more years of
17   nonuse coupled with evidence of an intent not to resume use. See 15 U.S.C. § 1127. Three consecutive
18   years of nonuse can be treated as prima facie evidence of abandonment. Id. The TTAB and courts also
19   require high standard of proof to cancel a registration for abandonment; nonuse for abandonment
20   purposes has been defined as “no bona fide use of the mark made in the ordinary course of trade.” See
21   Lewis Silkin LLP v. Firebrand LLC, 129 USPQ2d 1015 (TTAB 2018).
22          Defendant’s Answer is incorporated by reference in Counterclaim ¶1 (ECF 13 at 20). Defendant
23   has denied that Plaintiff owns the website at batchtest.com (Answer ¶¶ 35-36), and also denied that the
24   content on numerous pages of the website at batchtest.com “appears to show any information related
25   to Plaintiff’s business”; see Answer ¶¶ 39-42 and 46-47. Yet, Defendant then cherry picks one webpage
26   at “www.batchtest.com/pebbles” which allegedly “discusses downloadable software” and refers to it
27   as “Plaintiff’s Website”; see Counterclaim ¶¶ 7-8. Defendant then also makes conclusory allegations
28   that “[u]pon information and belief, Plaintiff’s Website lists Pebbles UI under “Products” and not under


      MOTION TO DISMISS SECOND AMENDED
      COUNTERCLAIMS
                                                        -5-                     CASE NO. 1:24-cv-02535-ACR
              Case 1:24-cv-02535-ACR           Document 15        Filed 05/27/25       Page 8 of 13




 1   “Services” (Counterclaim ¶ 9) while denying that the webpages under that “Services” menu “appears
 2   to show any information related to Plaintiff’s business.” ECF 1 Exhibits 7 and 8 show some (but not
 3   all) of those webpages under “Services” section of batchtest.com website, which quite clearly show use
 4   of the PEBBLES® Mark.
 5          The Court need not accept inferences drawn by the counter-plaintiff if those inferences are
 6   unsupported by facts alleged in the counterclaims, nor must the Court accept counter-plaintiff’s legal
 7   conclusions. Browning v. Clinton, 292 F.3d 235, 242 (D.C. Cir. 2002); also see, Kowal v. MCI
 8   Comm’ns Corp., 16 F.3d 1271, 1276 (D.C. Cir. 1994), 16 F.3d at 1276. It is axiomatic that Defendant’s
 9   one cherry-picked webpage from the “Products” section of a website, which allegedly “discusses a
10   downloadable software,” might not also discuss “services” on the same webpage. There is no legal
11   requirement that a trademark owner show public use of his mark on all of his goods and services on a
12   single webpage, let alone having to show that on a single webpage of an accuser’s choosing; neither do
13   the Counterclaims allege any such legal requirement. Defendant’s allegations, that the cherry-picked
14   one webpage of a website allegedly owned by Plaintiff, is the only page that shows Plaintiff’s goods
15   while the rest of the same website does not “show any information related to Plaintiff’s business,” are
16   unintelligible and inconceivable.
17          Counterclaim I alleges no factual allegations, which accepted as true, state a plausible claim on
18   which relief may be granted by the Court; Defendant’s above referenced allegations are all “[u]pon
19   information and belief,” and repeatedly fail to allege sufficient factual allegations such that “intent not
20   to resume maybe inferred from circumstances” by the Court. Further, Defendant has not alleged any
21   facts which support Plaintiff’s nonuse of all services recited on the ‘799 Registration for 3 consecutive
22   years, which if proven as true, would establish prima facie evidence of abandonment. 15 U.S. Code §
23   1127. Plaintiff also urges the Court to note that the ‘799 Registration was issued on November 16, 2021
24   (Counterclaim ¶¶ 4), and as such it was less than 3 years old when the Complaint was filed on August
25   26, 2024. As such, it seems impossible for Defendant to sufficiently allege abandonment of the
26   PEBBLES® Mark in the ‘799 Registration due to nonuse for 3 consecutive years.
27          Defendant’s repeated unintelligible and conclusory remarks alleging a claim based on mere
28   denials of the evidence attached to the Complaint, are nothing more than “an unadorned, the-defendant


      MOTION TO DISMISS SECOND AMENDED
      COUNTERCLAIMS
                                                         -6-                      CASE NO. 1:24-cv-02535-ACR
             Case 1:24-cv-02535-ACR            Document 15        Filed 05/27/25      Page 9 of 13




 1   unlawfully-harmed-me accusation.” See, Twoombly. Also, the Court may dismiss a claim if it is
 2   “beyond doubt that the plaintiff can prove no set of facts in support of his claim which would entitle
 3   him to relief.” Conley v. Gibson, 355 U.S. 41, 45-46 (1957). For the above reasons, the Court is
 4   requested to not allow any further delay tactics by Defendant and dismiss Counterclaim I with prejudice
 5   because it is once again far from a well-pleaded claim. See Iqbal.
 6          B. COUNTERCLAIM II FOR THE CANCELLATION OF REGISTRATION NOS. 6,557,799 AND
 7              6,557,978 AGAIN FAILS TO STATE A CLAIM
 8          While Defendant’s self-contradicting allegation of facts also continue in its Counterclaim II, as
 9   an added bonus Defendant also flip-flops here between the terms “its PEBBLES Registrations”
10   (Counterclaim ¶¶ 17and 27 ), “the PEBBLES Registrations” (Counterclaim ¶¶ 19, 21 and 24-26) and
11   “Defendant’s PEBBLES Registrations (Counterclaim ¶¶ 29 and 30), without clearly defining the term
12   “PEBBLES Registrations anywhere in the Counterclaims. Also, Defendant does not allege any facts to
13   support that it owns “Defendant’s PEBBLES Registrations” despite repeatedly reciting it in
14   Counterclaim II. Similarly, Counterclaim ¶ 23 (ECF 13 at 24) makes allegations of the “specimens
15   submitted by Defendant in connection with the application of the PEBBLES 42 Registration …”
16   without alleging any supporting facts on when, why and what “specimens” Defendant had submitted
17   to the alleged Plaintiff’s or his predecessor’s trademark application. The above shows Defendant’s
18   complete lack of basic due diligence before filing its thoughtless and frivolous Counterclaims.
19          Even if the Court were to ignore that Plaintiff is a living individual, and not an “it,” Defendant’s
20   reference of “its PEBBLES Registrations” is undefined, and does not provide a clear notice of
21   what/which specific registration(s) are being referenced. Despite the heading of Counterclaim II
22   reciting “Registration No. 6,557,799 And Registration No. 6,557,978” (ECF 13 at 23), Defendant has
23   denied that those registrations are owned by Plaintiff; see Counterclaim ¶16 and Answer ¶¶24 and 26.
24          Plaintiff’s Complaint ¶ 44 alleges the specimen that was submitted with the underlying
25   application of his ‘799 Registration and shows the said specimen as Image 1. But “[i]n answering
26   paragraph 44, Defendant denies that this site appears to show any information related to Plaintiff; as to
27   the remaining allegations … denies same”; see Answer ¶ 44. Yet, Counterclaim ¶¶ 20-21 asserts the
28   above-referenced specimen as true while making conclusory remark that “any reference to “Pebbles”


      MOTION TO DISMISS SECOND AMENDED
      COUNTERCLAIMS
                                                         -7-                      CASE NO. 1:24-cv-02535-ACR
             Case 1:24-cv-02535-ACR            Document 15         Filed 05/27/25       Page 10 of 13




 1   alone relates only to a service to update and synchronize Plaintiff’s own product, which does not qualify
 2   as a service rendered in commerce,” without alleging any facts which support Defendant’s such
 3   position. It is also unclear what “site” Defendant is referring to, because Complaint ¶ 44 does not allege
 4   any “site.” Defendant’s denial, that the specimen shown in the Complaint Image 1 (ECF 1 at 10)
 5   “show[s] any information related to Plaintiff,” is also futile for this claim, because the core of this claim
 6   in Counterclaim ¶ 21 rests on the assertion that the said specimen was “submitted to the USPTO by
 7   Plaintiff”; no other specimen was submitted with the underlying application of the ‘799 Registration.
 8           Also, Defendant’s conclusory allegations that “any reference to “Pebbles” alone relates only to
 9   a service to update and synchronize Plaintiff’s own product, which does not qualify as a service
10   rendered in commerce”, without support of any factual allegation, is nothing more than “[t]hreadbare
11   recitals of the elements of a cause of action, supported by mere conclusory statements.” See Iqbal.. The
12   above-referenced specimen shows the following description of its service targeted for consumers:
13
           “Updates and synchronizes your Pebbles™ graphics, function modules, UI controls, and
14         indicators. Please ensure that your firewall settings allow TCP port 443 (SSL) on this
           computer. If this service is stopped or disabled, or if port 443 is blocked on this computer,
15         your Pebbles modules may stop functioning.” Complaint ¶ 44 Image 1; ECF 1 at 10.
16
             The above clearly describes an internet-based service similar to many well-known internet
17
     based services such as Dropbox, Microsoft OneDrive, Google Drive and iCloud, which update and
18
     synchronize files between two remotely connected computers of consumers so that both computers
19
     have identical files and information. The Court is requested to note that the ‘799 Registration lists
20
     online services to aid developers in creating their own graphics and software; Complaint ¶ 27; quite
21
     naturally, use of the term “your” in the above-quoted description is targeted for those developers who
22
     are consumers.
23
             Counterclaim ¶ 25 alleges that “[a]t no time has Plaintiff shown that its PEBBLES Marks were
24
     in bona fide use in commerce as of its January 8, 2020 filing date of the in-use trademark application
25
     of the PEBBLES Registrations.” Even if the Court were to again assume that Defendant refers to the
26
     underlying trademark applications of Plaintiff’s PEBBLES® Registrations, given that Plaintiff’s use-
27
     based PEBBLES® Registrations exist, in itself supports that specimens of actual use were timely
28
     submitted and found acceptable by the USPTO, after which it issued the PEBBLES® Registration.


      MOTION TO DISMISS SECOND AMENDED
      COUNTERCLAIMS
                                                          -8-                      CASE NO. 1:24-cv-02535-ACR
             Case 1:24-cv-02535-ACR           Document 15        Filed 05/27/25      Page 11 of 13




 1   Additionally, the above allegation merely repeats Defendant’s denials in Answer ¶¶ 2, 89-90, 92, 151
 2   and 168, that Plaintiff and his predecessor have continuously used the PEBBLES® Mark in the U.S.
 3   commerce since long before any date of first use by Defendant, including any date “since much prior
 4   to June 18, 2019” (Complaint ¶ 92 and Answer ¶¶ 92). Quite clearly, Defendant’s allegations are mere
 5   denials of Plaintiff’s factual allegations, and as such, merely duplicative of the matter already in front
 6   of this Court.
 7   There Are No Allegation Against The ‘978 Registration For Class 9 Goods
 8          Except for its heading, Counterclaim II does not make any specific allegation against the ‘978
 9   Registration; in fact, Answer ¶ 24, which is incorporated by reference (see Counterclaim ¶ 16; ECF 13
10   at 23), has denied that Plaintiff owns the ‘978 Registration. Additionally, while Defendant’s Answer
11   and Affirmative Defenses (ECF 13) deny almost all detailed and specific factual allegations in the
12   Complaint, Defendant’s own admission in Counterclaim ¶24, that since “[b]efore the filing of
13   Plaintiff’s applications of the PEBBLES Registrations, Plaintiff’s website listed Pebbles UI under “Our
14   Products” or “Products,”” is futile for this claim because it directly Counterclaim II, that “[a]t no time
15   has Plaintiff shown that its PEBBLES Marks were in bona fide use in commerce as of its January 8,
16   2020 filing date of the in-use trademark application of the PEBBLES Registrations.”
17          Also, although Counterclaim ¶ 16 alleges that “Defendant repeats paragraphs 1 through 210 of
18   its Answer and Affirmative Defenses and paragraphs 1 through 15 of its Counterclaims as if fully set
19   forth here,” nowhere in those allegations Defendant has defined “PEBBLES Registrations” or in any
20   manner referenced any goods recited on the ‘978 Registration except for its above-referenced admission
21   in Counterclaim ¶ 24; Defendant has only defined “PEBBLES Class 42 Registration” and “Claimed
22   PEBBLES Class 42 Services” (Counterclaim ¶¶ 4-5). Even if the Court were to accept Defendant’s
23   allegations as true for the purpose of this Motion, once again Counterclaim II does not sufficiently
24   allege any claim on which relief maybe granted.
25          For the reasons set forth above, this claim must be dismissed with prejudice, because despite
26   having several opportunities and attempts, Defendant has once again failed entirely in alleging any
27   facts, which accepted as true, state a plausible claim for cancellation of the ‘978 Registration.
28          Plaintiff additionally asserts that from whatever can be understood from the Counterclaims, and


      MOTION TO DISMISS SECOND AMENDED
      COUNTERCLAIMS
                                                         -9-                     CASE NO. 1:24-cv-02535-ACR
              Case 1:24-cv-02535-ACR         Document 15        Filed 05/27/25      Page 12 of 13




 1   as described above, Defendant’s allegations are mere denials of the facts alleged with significantly
 2   more details in the Complaint, and as such the Counterclaims are duplicative of the matter already in
 3   front of this Court. As such, Plaintiff respectfully requests that the Counterclaims should be dismissed
 4   with prejudice as duplicative.
 5   IV.      CONCLUSION
 6            As asserted above, all of Defendant’s CounterClaims are fatally flawed and destined to fail;
 7   Defendant has once again failed to plausibly allege any theory of trademark abandonment. For the
 8   foregoing reasons, Plaintiff respectfully requests that this Motion be granted and Defendant’s
 9   Counterclaims be entirely dismissed with prejudice.
10

11
                                                  Respectfully submitted,
12
     Dated:          May 27, 2025                 /s/ Dinesh Patel
13
                                                  (Pro Se Plaintiff)
14
                                                  2118 Walsh Ave, Suite 240, Santa Clara, CA 95050
15                                                Email: btcroot@gmail.com
16
                                                  Telephone: (408) 454-8378

17

18

19

20

21

22

23

24

25

26

27

28



      MOTION TO DISMISS SECOND AMENDED
      COUNTERCLAIMS
                                                       -10-                     CASE NO. 1:24-cv-02535-ACR
            Case 1:24-cv-02535-ACR         Document 15       Filed 05/27/25    Page 13 of 13




 1                                       CERTIFICATE OF SERVICE
 2

 3          I hereby certify that on May 27, 2025, I caused the foregoing document to be served
 4   electronically by means of the Court’s CM/ECF system, on Defendant’s counsel of record:
 5
            Eliot S. Markman
 6
            Dentons US LLP
 7          Hanley Corporate Tower
            101 S. Hanley, Suite 600
 8          St. Louis, MO 63105
            Telephone: (314) 241-1800
 9
            Facsimile: (314) 259-5959
10          eliot.markman@dentons.com
11          (Attorneys for Defendant Georgetown Software House, Inc.)
12

13

14                                                     /s/ Dinesh Patel
15                                                     2118 Walsh Ave, Suite 240
16                                                     Santa Clara, CA 95050
                                                       Email: btcroot@gmail.com
17

18

19

20

21

22

23

24

25

26

27

28
